Case 2:04-cr-20505-.]PI\/| Document 26 Filed 08/29/05 Page 1 of 3 Page|D 56

 

IN THE uNITED sTATEs DISTRICT coURT ~"£DBY.... _m_ ga
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIVISION OSAUGZQ m 5:|*2
35333.5 GOULD
CLEFB<.U.S. DfSTBtCIC(lB[

UNITED sTATEs oF AMERICA OF,TN MEMP|-it$

Plaintiff,

Criminal No. 02 - £Q_)'DJ" Ml

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(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

Th'ts document entered c)n the docket sheet n comp|i ca
WHhHweSéandmrSZw)FHCH°on '

Case 2:OA-cr-20505-.]PI\/| Document 26 Filed 08/29/05 Page 2 of 3 Page|D 57

so oRDERED this 26th day of August, 2005.

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JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 
 

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Assistant United States Attorney

 

 

 

 

 

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‘-//UW

Counsel for Defendant(s)

 

   

UNITED S`TATE DRISTIC COUR - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20505 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

